Case 1:20-mc-00292-VSB Document 1 Filed 08/21/20 Page 1 of 17

AO 451 (Rev. 12/12) Clerk’s Certification of a Judgment to be Registered in Another District

UNITED STATES DISTRICT COURT

for the

District of New Jersey

CHEM RX PHARMACY SERVICES, LLC

 

 

Plaintiff
Vv.
NORTH BERGEN HEALTH CARE, LLC et al
Defendant

Civil Action No. 2:16-cv-08442-MCA

CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT

I certify that the attached judgment is a copy of a judgment entered by this court on (date) 12/05/2019 .
I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending

before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.

Date: 06/25/2020
CLERK OF COURT

Af/2_

Signature of Clesfaeh Deputy Clerk

 
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Case 2:16-cv-08442-MCA-MAH Document 119 Filed 12/05/19 Page 1 of 15 PagelD: 811

Case 2:16-cv-08442-MCA-MAH Document118 Filed 12/03/19 Page 15 of 17 PagelD: 793
Case 2:16-cv-08442-MCA-MAH Document117 Filed 12/02/19 Page 9 of 11 PagelD: 776

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
NEWARK DIVISION

 

Chem Rx Pharmacy Services, LLC fica
Cherm Rx Acquisition Sub, LLC, As
Assignee of ChemRx New Jersey, LLC,

» DOCKET NO. 2:16-cv-08442-MCA-MAH

: CIVIL ACTION
Plaintiff :
, : | HEREBY GEATIFY that the above and

¥. . foregoing is a true and correct copy of
: the original on file in my office.
: ATTEST

North Bergen Health Care, LLC d/b/a : a Wan State nents Genk

Hudson View Care and Rehabilitation :

Center, et al.

Defendants.

 

 

CONSENT ORDER OF JUDGMENT

Plaintiff Chem Rx Pharmacy Services, LLC (‘Chem Rx") and Defendants North Bergen
Health Care, LLC d/b/a Hudson View Care and Rehabilitation Center (“Hudson View"), RC
Operator, LLC d/b/a Willow Terrace (“Willow Terrace’), Wyndmoor Care Center, LLC d/b/a
Wyndmoor Hills Health Care & Rehab Center f/k/a Chestaut Hill Rehab Center, LLC
(“Wyndmoor"), Skyline Health Care, LLC (“Skyline”), Kotel Management Corp. (“Kotel”)
(Hudson View, Willow Terrace, Wyndmoor, Skyline, and Kotel are together “Entity
Defendants”), and Joseph Schwartz (“Schwartz” and together with Entity Defendants, |
“Defendants”), having agreed to the terms of a Second Settlement Agreement dated November
12, 2019 (the “Settlement Agreement”), and having agreed therein to the entry of this Consent

Order of Judgment:
Case 1:20-mc-00292-VSB Document 1 Filed 08/21/20 Page 3 of 17
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OND LEMENT AG

This Second Settlement Agreement, dated as of November 12, 2019 (the “Agreement”,
is made by and between

CHEM RX PHARMACY SERVICES, LLC (“CHEM RX”), on the one hand,

AND

NORTH BERGEN HEALTH CARE, LLC D/B/A HUDSON VIEW CARE AND
REHABILITATION CENTER (“HUDSON VIEW"), RC OPERATOR, LLC D/B/A
WILLOW TERRACE (“WILLOW TERRACE"), WYNDMOOR CARE CENTER, LLC
D/B/A WYNDMOOR HILLS HEALTH CARE & REHAB CENTER F/K/A CHESTNUT
HILL REHAB CENTER, LLC (“WYNDMOOR”) (HUDSON VIEW, WILLOW
TERRACE AND WYNDMOOR ARE TOGETHER THE “FACILITY PARTIES"),
SKYLINE HEALTH CARE, LLC (“SKYLINE”), KOTEL MANAGEMENT CORP.
@KOTEL*), AND JOSEPH SCHWARTZ (“SCHWARTZ”) (FACILITY PARTIES,
SKYLINE, KOTEL, AND SCHWARTZ ARE TOGETHER THE “SETTLING

PARTIES"), on the other hand.
RECITALS

A. WHEREAS Chem Rx provided pharmacy goods and services to Facility Parties
for use by the residents of the skilled nursing facilities they owned, operated, or managed by
Facility Parties at 9020 Wall Street, North Bergen, NJ 07047; One Penn Bivd., Philadelphia, PA
19144; and 8601 Stenton Avenue, Wyndmoar, PA 19038 (together, the “Facilities” , and Facility
Parties agreed to compensate Chem Rx for such goods and services.

B. WHEREAS Chem Rx filed suit against Settling Parties in a case captioned Chem
Re Pharmacy Services, LLC v. North Bergen Health Care, LLC, er al, Case No. 2:1 6-cv-08442
(D.N.J.) (the “Action”) with various claims for payment from Settling Parties, and certain of
Settling Parties filed a Counterclaim against Chem Rx in the Action.

C. WHEREAS Chem Rx and Settling Parties agreed to resolve the claims in the
Action on terms and conditions set forth in a Settlement Agreement dated as of April 10, 40 &
(the “First Settlement Agreement”).

BD. WHEREAS Chem Rx alleged that Setding Parties breached the First Settlement
Agreement and made a motion in the Action for the Court to enforce the First Settlement
Agreement and enter a judgment against Settling Parties.

E. WHEREAS Settling Parties and Chem Rx have agreed to resolve the disputes
beeween them, including those relating to Chem Rx‘s claim that Settling Parties breached the
First Settlement Agreement and Chem Rx‘s motion to enforce the First Settlement Agreement,
on the terms and conditions set forth in this Agreement.

 

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NOW, THEREFORE, in consideration of the foregoing, and the representations,
warranties, coveuants, and agreements set forth in this Agreement, end for other good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, Settling

Parties and Chem Rx hereby agree as follows:

ARTICLE |

 

1.01 Recitals, Articles, Sections, etc. Unless stated otherwise in this Agreement,

references in this Agreernent to Recitals, Articles, Sections, Schedules, and Attachments are
references to Recitals, Articles, and Sections of, and Schedules and Attachments attached to, this

Agreement. Each Schedule or Attachment to this Agreement is by this reference incorporated
into this Agreement.

1.02 No Construction Against Drafter. No inference in favor of, or against, any party
to this Agreement will be drawn from the fact that such party has drafted any portion of this

Agreement.
ARTICLE I

W, OF DEFENS D RIGHTS: EASE

nivers i ing Parties jarantor, Settlin
Parties and Guarantor, for themselves and their parents, subsidiaries, ~ ailiates, mm members, agents,
administrators, legel representatives, successors and assigns, HEREBY WAIVE AND
RELINQUISH any and all defenses and any and all rights to setoff or recoupment of any kind
whatsoever, that Settling Parties, or any person claiming by or through Settling Parties, may now
have or may claim to have in reapect of amounts owed pursuant to the First Settlement

Agreement.

2.02 Releage by Settling Parties. Settling Parties, for themselves and their heire,

executors, administrators, personal representatives, legal representatives, officers, directors,
members, employees, affiliates, subsidiaries, successors and assigns, HEREBY RELEASE,
ACQUIT AND FOREVER DISCHARGE Chem Rx, its directors, officers, employees,
insurers, agents and cepresentatives, and ell other persons who are acting or at any time or times
have acted for or on behalf of Chem Rx and any subsidiary or affiliate of Chem Rx, and all of
their respective heirs, executors, administrators, personal representatives, legal representatives,
officers, directors, employees, affiliates, subsidiaries, successors and assigne from all claims,
demands, actions, causes of action, losses, liabiliries, damages, coats expenses and disbursements
(including, but not limited to, fees and disbursements of accountants, attorneys, engineers and
other professionals, experts and agents) of any kind whatsoever, both known and unknown, beth
foreseen and unforeseen, whether now or hereafter existing, whether matured or unmatured,

- digquidated or unliquidated, legal or equitable, whether based upon tort, contract, breach of
contract or otherwise, and whether or not esserted, which Settling Parties, or any person claiming

 

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by or through Settling Parties, may now have or incur er may now claim to have or to have
incurred, arising or to arise, directly or indirectly, from or by reason of, or in any manner related
to or conected with: (a) the negotiation, preparation, execution and or delivery of this
Agreement or the First Settlement Agreement, and/or (b) any other fact, event, transaction,
condition, act or omission to act occurring on or prior to the date of this Agreement related to or
connected with the goods and services provided by Chem Rx at the Facilities or for the Facilities
or their reeidents, and (c) the allegations, claims, counterclaims, and motions in the Action.

2.03 Release by Chem Rx. Upon timely payment in fill of all the obligations
hereunder, Chem Rx, for itself and its heirs, executors, administrators, personal representatives,
legal representatives, officers, directors, employees, affiliates, subsidiaries, successors and
assigns, agrees to RELEASE, ACQUIT, AND FOREVER DISCHARGE Settling Parties,
their dizectors, officers, employees, insurers, agents and representatives, and all other persons
who are acting or at any time or times have acted for or on behalf of Settling Parties and any
subsidiaries or affiliates of Settling Parties, and all of their heirs, executors, administrators,
personal representatives, legal representatives, officers, directors, employees, affiliates,
subsidiaries, successors and assigns, from all claims, demands, actions, causes of action, losses,
liabilities, damages, costs, expenses, and disbursements (including, but not limited to, fees and
disbursements of sccountants, attorneys, engineers, and other professionals, experts, and agents)
of any kind whatgoever, both known and unknown, both foreseen and unforeseen, whether now
or hereafter existing, whether matured or unmatured, liquidated or unliquidated, legal or
equitable, whether based upon tort, contract, breach of contract or otherwise, and whether or not
asserted, which Chem Rx, or any person claiming by or through Chem Rx, may now or hereafter
have or incur or may now or hereafter claimed to have or do have incurred, arising or arise,
directly or indirectly, from or by reason of, or in any manner related to or connected with: (#) the
negotiation, preparation, execution and or delivery of this Agreement or the First Settlement
Agreement, and/or (b) any other fact, event, wansaction, condition, act or omission to act
occurring on or prior to the date of this Agreement related to or connected with the goods and
services provided by Chem Rx at the Facilities or for the Facilities or their residents, and (c) the
allegations, claims, counterclaims, and motions in the Action. Notwithstanding the foregoing,
the parties understand and agree that this Section and release specifically excludes any claim
arising from or related to the inspection, evaluation, action, review, audit, inguiry or
investigation performed by or at the behest of a government agency. third-party payer, and/or
Medicare Part D plan seeking recoupment or recovery of payments made in connection with the
provision of pharmacy goods and services by Chem Rx.

2.04 ¢ a8 2 . The Parties acknowledge and agree that (a)
the waiver, relinquishment, release, acquittance, and discharge set forth in Sections 2.01, 2.02,
and 2.03 of this Agreement, and the provision for entry of a Consent Order of Judgment in
Section 4.03 of this Agreement have been specifically negotiated and ere essential and material
terms of this Agreement; (b) the Parties have had the opportunity to consult with legal counsel of
their own choosing prior to signing this Agreement and accepting the provisions of this
Agreement, including, but not limited to, the waiver, relinquishment, release, acquittance, and
discharge set forth in Sections 2.01, 2.02, and 2.03 of this Agreement, and the provision for entry
of a Consent Order of Judgment in Section 4.03 of this Agreement; and (c) the Parties
voluntarily and knowingly have signed this Agreement and accept and agree to the provisions of

   

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this Agreement, including, but not limited to, the waiver, relinquishment, release, acquittance,
and discharge set forth in Sections 2.01, 2.02, and 2.03 of this Agreement, and the provision for

entry of a Consent Order of Judgment in Section 4.03 of this Agreement.
ARTICLE I]

NIBE TS

3.01 Settlement Defaults, Any one or more of the following events or conditions will
constitute, individually, a “Settlement Default” and, collectively, the “Settlement Defaults:"

(a) Settling Parties fail to make any payment that is due and owing under this
Agreement;

(b) Settling Parties fail to perform or observe any other term, covenant, or agreement
contained in this Agreement; or

(c) Settling Parties file a voluntary petition of bankruptcy or have a petition filed
against them in a bankruptcy or insolvency proceeding or make a general assignment for the
benefit of their creditors which lasts for more than ninety (90) days (and if euch a default occurs,
Settling Parties will not dispute or object to Chem Rx’s proof of claim and will agree that Chem
Rx's claim will equal the amounts owed under the Consent Order of Judgment).

ARTICLE IV

PAYMENT TERMS

4.01 Payment, Settling Parties agree to pay to Chern Rx the amount of $1,000,000.00
{the “Setlement Amount”). The Settlement Amount shall be paid as $350,000.00 due on or
before November 13, 2019,' and $65,000 due on the 13° day of each successive month until the
Settlement Amount has been paid in full, as set forth in the payment schedule in Attachment A.

4.02 Place of Payment, All payments due hereunder shall be made by wire pursuant to
wire insteuctions to be provided under separate cover. Payments are deemed made at the time of
receipt by Chem Rx at the designated place of payment.

4.03 Consent Order of Judement, As an inducement for Chem Rx to enter into this

Agreement, and as a material term of this Agreement, Settling Parties have executed a Consent
Order of Judgment in the form attsched hereto as Attachment B. Chem Rx and Settling Parties
will tender the Consent Order of Judgment to the Court in the Action for entry therein upon
execution of this Agreement. Chem Rx agrees that it will forbear from seeking to collect upon
the Consent Judgment so long es payments required hereunder are timely made.

4.64 Right to Cure Default. Upon the occurrence of any Settlement Default, Chem Rx
will provide Settling Parties with a Notice of Settlement Default pursuant to the paragraph of this

 

' Chem Rx scknowledges that it received this payment prior (a execution of ibig Agreement,
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svmsce Absent,

 
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Agreement conceming notices, and will take no further action to collect amounts due to it for 10
days from sending of the Notice of Settlement Default (the “Cure Period”). Settling Parties may
cure a Settlement Default by making peyment of such amount that is past due within the Cure
Period (8 “Settlement Default Cure"). If a Settlement Default is cured by a Settlement Default
Cure, Chem Rx will not take any action to enforce or collect upon the Consent Order of
Judgment. Notwithstanding a Settlement Default Cure, future payments will continue to be due
and owing as provided in Section 4.01 until such time as the Settlement Amount has been timely

paid in full. ,
405 Rights Upon Uncured Default, In the event that Settling Parties do not exercise a

Settlement Default Cure in the Cure Period after having been sent e Notice of Settlement
Default, Chem Rx shall immediately be entitled to enforce the Consent Order of Judgment and to
aeck to collect all amounts due te Chem Rx thereunder. Any payments made by Settling Parties
under Section 4.01 of this Agreement prior to the uncured Settlement Default shall be credited
against the amounts owed by them under the Consent Order of Judgment, with such payments
applied first to accrued interest and then to principal.

4.06 Prepayment, Principal amounts may be prepaid in whole or in part, at any time
and from time to time, without premium or penalty. All prepayments under this Agreement will
be applied first to the reduction of any accrued interest hereunder and then to the outstanding
principal balance hereof.

ARTICLE VI.

MISCELLANEOUS

5.01 Amendments etc. No waiver, termination, amendment o other modification of
any provision of this Agreement, and no consent by Chem Rx to any departure from any
provision of this Agreement, will in any event be effective unless the same will be in writing and
signed by Chem Rx (or any successor to Chem Rx), and then such waiver of consent will be
effective only in the specific instance and for the specific purpose for which it is given; provided
that no waiver, termination, amendment, other modification or consent, will amend or otherwise
modify Section 2.01, Section 2.02, Section 2.03 or Section 5.01.

$02 Entire Agreement. This Agreement constitutes the entire Agreement by and
between Settling Parties and Chem Rx with respect to the subject matter of this Agreement and
supersedes all prior Agreements, understandings, and negotiations, both written and oral, by and
between Settling Parties and Chern Rx with respect to the subject matter of this Agreement. No
representation, warranty, inducement, promise, understanding, or condition which ig not set forth
in this Agreement has been made or relied upon by Settling Parties or Chem Rx.

§,03 Ne Waiver, Remedies Cumulative. No failure by any party to this Agreement to

exercise, and no delay by any such party in exercising any power, right, or remedy under this
Agreement will operate as a waiver of such power, right, or remedy, and no single or partial
exercise of any such power, right, or remedy will preclude any other or further exercise of such
power, right, or remedy or the exercise of any other power, right, or remedy. The rights and

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remedies provided in this Agreement will be cumulative and not exclusive of any nghts or
remedies provided by law. Without limiting the generality of the proceeding provisions of this
Section, except as expressly provided in this Agreement, Chem Rx expressly reserves all power,
rights, and remedies available to Chem Rx with respect to any default between the parties, at

law, in equity or otherwise.
5.04 Costs and Expenses, The Parties shall pay their own costs and legal fees.

5.05 Severability. Any provision of this Agreement that is prohibited or unenforceable
in any jurisdiction will be ineffective, as to such jurisdiction, to the extent of such prohibition or
unenforceability without invalidating the remaining provisions of this Agreement or affecting the
validity or enforceability of such provision in any other jurisdiction.

5.06 Captions, The headings of the Articles. Sections, Subsections, Paragraphs, and
other divisions of this Agreement are included for convenience of reference only, and will not in
any way limit or affect Uke construction or interpretation of any provision of this Agreement.

$07 Goveming Law. This Agreement will be governed by, and construed in all
respects in accordance with, the laws of the State of New Jersey without regard to the conflicts of
law rules of any state. ;

5.08 Waiver of a Jury _ Trial. SETTLING PARTIES HEREBY
UNCONDITIONALLY AND IRREVOCABLY WAIVE THEIR RIGHT TO TRIAL BY
JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM DIRECTLY OR
INDIRECTLY BASED UPON OR ARISING OUT OF OR RELATING TO ANY PART .
OF THIS AGREEMENT, OR THE ACTIONS OF CHEM RX IN THE NEGOTIATION,
PREPARATION, EXECUTION, DELIVERY, ADMINISTRATION, PERFORMANCE
OR ENFORCEMENT OF THIS AGREEMENT. THE SCOPE OF THIS WAIVER 1S
INTENDED TO BE ALL ENCOMPASSING OF ANY AND ALL DISPUTES THAT MAY
BE FILED IN ANY COURT (INCLUDING CONTRACT CLAIMS, TORT CLAIMS,

. BREACH OF DUTY CLAIMS AND ALL OTHER COMMON LAW AND STATUTORY
CLAIMS). THIS WAIVER IS IRREVOCABLE, MEANING THAT IT MAY NOT BE
MODIFIED EITHER ORALLY OR IN WRITING, AND SHALL APPLY TO ARY
SUBSEQUENT AMENDMENTS, EXTENSIONS, RENEWALS OR OTHER
MODIFICATIONS OF ANY OF THIS AGREEMENT OR ANY OTHER DOCUMENT
OR AGREEMENT RELATING TO ANY OF THE OBLIGATIONS OR ANY OF
SETTLING PARTIES' OBLIGATIONS. oo

5.09 Consent to Jurisdiction and Venue. SETTLING PARTIES AGREE TO THE

EXCLUSIVE JURISDICTION IN, AND CONSENT TO ONE OR MORE ACTIONS
BEING INSTITUTED AND MAINTAINED IN ANY OF THE STATE COURTS OF NEW
JERSEY, AND/OR THE UNITED STATES DISTRICT COURT LOCATED IN
NEWARK, NEW JERSEY TO ENFORCE THIS AGREEMENT OR ANY OTHER
DISPUTE BETWEEN THE PARTIES, AND WAIVE ANY OBJECTION TO ANY SUCH
ACTIONS BASED UPON LACK OF PERSONAL OR SUBIECT MATTER
JURISDICTION OR IMPROPER VENUE. SETTLING PARTIES AGREE THAT ANY
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ACTION OR PROCEEDING MAY BE SERVED BY SERVING A COPY THEREOF,
ADDRESSED TO SETTLING PARTIES AT THE ADDRESS, AND IN THE MANNER,

INDICATED IN SECTION §.10.

5.10 Notices, All notices, requests, demands, directions, consents, and other
communicetions to any party under or in connection with this Agreement will be in writing and
will be sent via certified or registered mail, retum receipt requested, via telephone facsirnile
tranemission, via perzonal delivery, or via express courier or delivery service as well as an
additional copy by email if such an address is provided below, addressed to such party at such
party's address or telephone facsimile number and/or email as will be deaignated by such party
in written notice given to the other party complying as to delivery with the terms of this

on:

ifte Chem Ru:

Jeanifer Yowler

SVP & Chief Financial Officer
PharMerice Corporation

805 N. Whittington Parkway
Louisville, Kentucky 40222
Facsimile: ($02) 638-7941

with a copy to:

Benjamin C. Fultz

Jennifer Metzger Stinnett
Matthew C. Williams

Fultz Maddox Dickens PLC

101 South Fifth Street, 27th Floor
Louisville, Kentucky 40202
Facsimile: ($02) 588-2020

if to Settling Parties:

Joseph Schwartz

Michsel Schwartz

40 Vreeland Ave, Suite 105
Totewa, N.J. 07512
jechwartz@skylinehealthcare.com
mschwartz@skylinchealthcars.com

with a copy to:
Charles 1. Epstein, Esq.

27 Warren Sweet, Suite 304
Hackensack, NJ 67601

 

 
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Fax: (201) 489-2128
and

Seadia Shapiro

Shapiro & Associates
Attomeys At Law, PLLC
2291 Seveath Avenue

New York, New York 10036 we
Fax: —m FADS

All such notices, requests, demands, directions, consents, and other communications will
be deemed given (a) when given and receipted for (or upon the date of attempted delivery when
delivery is refused) or (>) when received, if sent via telephone facsimile (confirmation of such
receipt via confirmed telephone facsimile being deemed receipt). Settling Parties agree that any
ection or proceeding may be served by mailing a copy thereof by certified mail, return receipt
requested, or any other substantially similer form of mail, addressed to them at the addresses
indicated above. ,

3.11 Transfer or Assignment. Chem Rx may assign or otherwise transfer all or any
portion of its rights and obligations under this Agreement to any other person or entity, and such
other person or entity, upon such assignment or transfer, will become vested with all of the
benefits that are granted to Chem Rx in this Agreement or otherwise in respect of the rights and
obligations that are assigned or otherwise transferred. Chem Rx shall provide at least thirty (30)
days written notice of any such transfer or assignment.

5.12 Asgknowledgement. Each of the parties acknowledges that it hes read this
Agreement, and thet it fully knows, understands, and appreciates this Agreement and
attachments and executes them voluntarily and of its own free will, and by executing this
Agreement signifies its assent to and willingness to be bound by its terms. The individual
executing on bebalf of any entity represents that he or she is authorized to execute this
Agreement on its behalf,

5.13 Execution by Counterpart. This Agreement may be executed in one or more
counterparts, each of which will be deemed to be an original copy of this Agreement and all of
which, when taken together, will be deemed to constitute one and the sare agreement. The
exchange of copies of this Agreement and of signature pages by facaimile transmission or.
electronic mail transmission shall constitute effective execution and delivery of this Agreement
aa to the Perties and may be used in liew of the original Agreement for all purposes. Signatures
of the Parties transmitted by facsimile or electronic mail shall be deemed to be their original

signatures for all purposes.
[THE REMAINDER OF THIS PAGE INTENTIONALLY LEFT BLANK]

 

 
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In witness whereof, the Parties have executed this Agreement on the date first written
ebove.

Dated: November 37, 2019 CHEM BX PHARMACY SERVICES, LLC

By: ey hanww

Tide:  ¢Fo

Dated: November 25, 2019 NORTH BERGEN WEALTH CARE, LLD D/B/A HUDSON

vERW (\" REMABELITATION CENTER
By:

¢

Title, Owner

RE OPERATOR, LLC OV8/4 WILLOW TEARACE
Dated: November 25, 2019 ‘
By:

Tide: Owner

 

Dated: November 25, 2019 WYNDMOOR CARE CENTER, LLC DHR/A WYNDMOOR
HILLS HEALTH CARE & REWAB CENTER DAUA
CHESTNUT BILL REBAB CENTER, LLC

By: |
y ; , :

1 whom ber

Tile: Owner

Dated: Nevember 26, 2019 SKYLINE HEALTH CARE, LLC |
By:
Title: Owner

 

ROTEL MANAGEMENT COOP.

 

 
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Dated: November 25, 2019 | By: Ou —

Tide: Owner

Dated: November 25, 2019 (\. "h
F ¥

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ATTACHMENT A

Payment Schedule

 

Payment Payment Payment Remaining
No Date Amount Balance
$1,600,006.00
1 11/13/2019 $350,000.00 $650,000.00
2 12/13/2019 $65,000.00 $585,000.00
3 1/13/2020 = 365,000.60 $$20,000.00
4 2/13/2020 $65,000.00 $455,000.00
5 3/13/2020 $65,000.00 $390,000.00
6 4/13/2020 $65,000.00 $325,000.00.
7 5/13/2020 $65,000.00 $260,000.00
g 6/13/2020 $65,000.00 $195,000.00
9 7/43/2020 = $65,000.06 $130,000.60

10 8/13/2020 $65,000.00 365,000.00
Ll] - 9713/2020 $65,000.00 $0.00

Totals $1,600,006.00

 

 
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Case 2:16-cv-08442-MCA-MAH Document119 Filed 12/05/19 Page 13 of 15 PagelD: 823

Case 2:16-cv-08442-MCA-MAH Document118 Filed 12/03/19 Page 14 of 17 PagelD: 792

ATTACHMENT B
Consent Order of Judgement

 
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Case 2:16-cv-08442-MCA-MAH Document 119 Filed 12/05/19 Page 14 of 15 PagelD: 824
Case 2:16-cv-08442-MCA-MAH Document 118 Filed 12/03/19 Page 16 of 17 PageiD: 794

Case 2:16-cv-08442-MCA-MAH Documenti117 Filed 12/02/19 Page 10 of 11 PagelD: 777

IT IS ORDERED AND ADJUDGED that the Entity Defendants are jointly and severally
indebted to Chem Rx in the amount of $2,901,072.36, plus post-judgment interest from the date

of entry of this Order at the rate of 7% per annum.

If IS FURTHER ORDERED AND ADJUDGED that Joseph Schwartz shall be jointly
and severally indebted with the Entity Defendants to Chem Rx for the principal and interest —
amounts owed by them, provided, however, that the maximum amount of Joseph Schwartz’s “
lability to Chem Rx for such amounts shall be $900,000.00. |

This is a final and appealable Order, there being no just reason for delay in its entry.

ET IS SO ORDERED.

oma fee. B~ I

 

 

United States District Judge

 

 
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HAVE SEEN AND AGREED:

CHEM Rx PHARMACY SeRvices, LLC

BY: aL VO
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Title: fe

Nortu BERGetr HEALTH CARE, LLD b/e/a
HUDSON VIEW CaRE AN® REHABILITATION

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Title; Owner

RC Orerator, LLC of/afa WiLLow
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By: f=

Title: Owner

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Wiromoor Cane Center, LLC o/a/a
Wenpaoor HILLS HeaLte Care & Rewag
Cenwrer ¢/a/a CucsTNuT His Rewas

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Title: Owner

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By: . _ ———_
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Title: _ Owner

 
  

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Total Dues 8
Total Tendered: $7.98
Change fats $0.88

 

     

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NEWARK, NJ 07102
(973) 645-3730

SALE

MID: 000025551010

TID: 002 REF#: 00001901
Batch #: 183001 RRN: 530100004
07/01/20 10:31:38
AVS: Z J OVG MM

ORDER#: 00001901
APPR CODE: 007332

VISA Manual CNP

need ANG hh pee

AMOUNT. $7.50
APPROVED

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